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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   UNITED STATES OF ANERICA                    Hon. Stanley R. Ches].er
                                               Crim. No. 10—486 (SRC)
               V.

                                               CONTINUANCE ORDER
   ADEWALE ADENUGA,
   FUAD ADENtJGA, and
   IBRAHIt4 YCJSUFF




               This matter having come before the Court on the joint

  application of Paul J.        Fishman,    United States Attorney for the
  District of New Jersey         (by   Brian L. Urbano, Assistant U.S.
  Attorney),    and defendants Adewale Adenuga,              (by David T.
  Schlendorf,       EsqJ,   Fuad Adenuga,    (by Stephen Dratch,       Esq.),    and
  Ibrahim Yusuff,      (by Kathleen Theuerer,       Esq.)     for an order
  granting a continuance of the proceedings in the above—
                                                          captioned
  matter,   and the defendants being aware that they have the right

  to have the matter brought to trial within 70 days
                                                     of the date of
  his appearance before a judicial officer of this court
                                                         pursuant
  to Title 18 of the United States Code,            Section 3161 (c) (1),       and as
  the defendants have consented to such a continuance,
                                                                       and for good
  and sufficient cause shown,

             IT IS ThE FINDING OF THIS COURT that this action
                                                              should
  be continued for the following reasons:
  _____________
  ____________




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              1.   Plea negotiations are currently in progress,            and

  both the United States and the defendants desire additional time

  to finalize a plea agreement,         which would render trial of this

  matter unnecessary;

             2.    Defendant has consented to the aforementioned

  continuance; and

              3.   Pursuant to Title 18 of the United States Code,

  Section 3161(h) (8),     the ends of justice served by granting the

  continuance outweigh the best interests of the public and the

  defendant in a speedy trial.

             WHEREFORE,     on thiscl            day of September,     2010,

             IT IS ORDERED that defense motions shall be filed by

                        the government*s reply shall by filed by

                    ,   the argument of the motions is schedried for

                        and the trial is scheduled for        I
  and
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              IT IS FURTHER ORDERED that the period front 3eptmber

22,   2010,   through Novezber 22,    2010,   shall be excludable in

computing tiwe under the Speedy Trial ct of 1974,               pursuant to

Title IB,     United States Code,    Sectionì 3161(h) (B)




                                          HON. STANLEY   CHESLER
                                                         ..



                                          United States District Judge




I hereby consent to the form
and entry of this Order




David T. Schlendorf, Esq.
ATTORNEY FOR ADEWALE ?DENUGA



Stephen Dratch, Esq.
ATTORNEY FOR FVAt ADENUGA



Kathleen t4. Theurer, Fsq.
ATTORNEY FOR I)3R1U1IM YUSU’F




fAN UR1NO,           AUSA




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                    IT IS FURTHER ORDERED that the period from September

      22,   2010,   through November 22,      2010,   shall be excludable in

      computing time under the Speedy Trial Act of 1974,              pursuant to

   Title 18,        United States Code,      Section 3161(h) (8).




                                                HON STANLEY R CHESLER
                                                United States District Judge




   I hereby consent to the form
   and entry of this Order



  /
   David T. Schi    rf, Esq.
   ATTORNEY FOR ADEWALE ADENUGA



   Stephen Dratch, Esq.
   ATrORNEY FOR FUAD ADENUGA



   Kathleen M. Theurer, Esq.
   ATTORNEY FOR IBRAIM YUSUFF




  BRIAN tJRBANO,       AtJSA
